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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

NICHOLAS AGUILAR,                  §
     Plaintiff,                    §                            CIVIL ACTION NO.
                                   §
v.                                 §                               5:21-cv-1048
                                                                ___________________
                                   §
PICK FIVE IMPORTS, INC. d/b/a      §
MAXI-MATIC USA, GUANGDONG          §
TREDY ELECTRIC CO. LTD., AND       §
INTERTEK TESTING SERVICES NA, INC. §
     Defendants.                   §                            JURY REQUESTED


                          PLAINTIFF’S ORIGINAL COMPLAINT



       Plaintiff Nicholas Aguilar now files this Original Complaint against Defendants Pick Five

Imports, Inc. d/b/a Maxi-Matic USA, Guangdong Tredy Electric Co. Ltd., and Intertek Testing

Services NA, Inc. (collectively “Defendants”). Nicholas Aguilar would respectfully show the

Court the following:

                                           PARTIES

       1.      Plaintiff, Nicholas Aguilar (“Aguilar” or “Plaintiff”), is an individual who resides

in Bexar County, Texas. He may be served through his attorney of record, Tej R. Paranjpe, of

Paranjpe Mahadass Ruemke LLP, 3701 Kirby Dr., Suite 530, Houston, Texas 77098.

       2.      Defendant Pick Five Imports, Inc. d/b/a Maxi-Matic USA (“Maxi-Matic”) is a

California corporation transacting business in Texas, with its headquarters and principal place of

business in City of Industry, California, and may be served with process through its registered

service address at 18401 E Arenth Ave #B, City of Industry, California 91748, or wherever it may

be found.

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       3.       Defendant Guangdong Tredy Electric Co. Ltd. (“Tredy”) is a foreign for profit

corporation benefiting from the sale of its products in Texas’ market and to Texas consumers, has

availed itself to the law of Texas, the forum state, with its registered agent and principal address

located at No. 16 Huatian Road, Ronggui, Shunde, Foshan, Guangdong, China.

       4.       Defendant Intertek Testing Services NA, Inc. (“Intertek”) is a New York

corporation, with its headquarters and principal place of business in Cortland, New York, and may

be served with process through its registered agent, Corporation Service Company d/b/a CSC-

Lawyers Incorporating Service, at 211 E. 7th Street, Suite 620, Austin, TX 78701, or wherever it

may be found.

                                 JURISDICTION AND VENUE

       5.       The Court has jurisdiction over this lawsuit under 28 U.S.C. §1332(a)(1) and (a)(3)

because the Plaintiff and Defendants are citizens of different U.S. states, a citizen of a foreign

state, and the amount in controversy exceeds $75,000.00, excluding interest and costs.

       6.       Venue is proper in this Court under 28 U.S.C. §1391(b)(2) because a substantial

part of the events or omissions giving rise to this claim occurred in this district.

                                  CONDITIONS PRECEDENT

       7.       All conditions precedent have been performed or occurred.

                                   RESPONDEAT SUPERIOR

       8.       Defendants are legally responsible to the Plaintiff for the acts and omissions of their

employees, agents, servants, and representatives under the legal doctrines of respondeat superior,

agency, and/or ostensible agency. As a result thereof, the Defendants are vicariously liable for all

wrongful and illegal acts, omissions, and conduct of their employees, agents, servants and

representatives.

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                                 MISNOMER AND ALTER EGO

       9.      In the event any parties are misnamed or are not included herein, it is Plaintiff’s

contention that such was a “misidentification,” “misnomer,” and/or such parties were or are “alter

egos” of parties named in this complaint. Alternatively, Plaintiff contends that such “corporate

veils” should be pierced to hold such parties properly included in the interest of justice.

       10.     The “alter ego doctrine permits the imposition of liability upon the parent company

for torts and contractual obligations of its subsidiary…” Miles v. Am. Telephone & Telegraph Co.,

703 F.2d 193, 195 (5th Cir. 1983). The theory “provides a vehicle for bringing a subsidiary within

the reach of the Texas long-arm statute because a close relationship between a parent and its

subsidiary may justify a finding that the parent does business in a jurisdiction through the local

activities of its subsidiaries, or vice versa.” Hargrave v. Fibreboard Corp., 710 F.2d 1154, 1159

(5th Circ. 1983); Walker v. Newgent 583 F.2d 163, 167 (5th Cir. 1978).

       11.     “Where a parent establishes a subsidiary… and dominates it…that the subsidiary is

a mere conduit for the parent’s business, the parent should not be able to shift the risk of loss.”

United States v. Jon-T Chemicals, Inc. 768 F.2d 686, 693 (5th Cir. 1985); Nelson v. Int’l. Paint

Co. 734 F.2d 1084, 1093 (5th Cir. 1984); Edwards Co. v. Monogram Indus. 730 F.2d 977, 982 (5th

Cir. 1984); Miles v. Am. Tel. & Tel. Co. 703 F.2d 193, 195 (5th Cir. 1983).

                     AGENCY, JOINT VENTURE, AND CONSPIRACY

       12.     Plaintiff is informed and believes, and thereon alleges, that at all times mentioned

herein, each of the Defendants were the parent, subsidiary, agent, servant, employee, coventurer,

and/or co-conspirator of the other Defendants and were at all times mentioned, acting within the

scope, purpose, consent, knowledge, ratification and authorization of such agency, employment,

joint venture and conspiracy. Plaintiff is informed and believes and thereon alleges that each of

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the Defendants are responsible in some manner for the occurrences herein alleged, and that

Plaintiff’s damages as herein alleged was proximately caused by their conduct.

                                              FACTS

       13.     Tredy is a consumer goods manufacturer whose products are sold worldwide,

including within the State of Texas. Within the course and scope of its business, Tredy

manufactures kitchen goods for home use by consumers. including the subject “Elite Bistro

Pressure Cooker,” which specifically includes the Model Number EPC-813 (referred to hereafter

as “Pressure Cooker” or “Product”) that is at issue in this case.

       14.     Maxi-Matic is a consumer products distribution company, which markets and sells

consumer goods worldwide, including within the State of Texas. Within the course and scope of

its business, Maxi-Matic marketed and sold the Pressure Cooker manufactured by Tredy.

       15.     Intertek is a products testing, inspecting, and certification company, which certifies

consumer products that are sold worldwide, including within the State of Texas. Within the course

and scpe of its business, Intertek provided a certification of quality on the Pressure Cooker.

       16.     Maxi-Matic touts the “safety” of its pressure cookers, and states that they cannot

be opened while in use. Intertek also certified the product as “safe.” Despite Defendants’ claims

of “safety,” it designed, manufactured, marketed, certified, imported, distributed and sold, both

directly and through third-party retailers, a product that suffers from serious and dangerous defects.

       17.     According to the Owner’s Manual accompanying each individual unit sold, the

pressure cookers purport to be designed with a “safety feature” and that prevents the lid from

opening until all pressure is released; misleading the consumer into believing that the pressure

cookers are reasonably safe for their normal, intended use.




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       18.     On or about October 30, 2019, Plaintiff was making menudo in the Pressure Cooker

while at home with his family. The Pressure Cooker beeped indicating that the cook time was

completed. After the float valve on top of the Pressure Cooker dropped, Plaintiff started to open

the lid of the Pressure Cooker with minimal force. Right as he was opening the lid, it shot up and

the scalding hot contents were forcefully ejected from the Pressure Cooker completely covering

Plaintiff’s face, the right side of his head, his neck, and his arm and hand.

       19.     As a direct and proximate result of Defendants’ conduct, the Plaintiff in this case

incurred significant and painful bodily injuries, medical expenses, lost wages, physical pain,

mental anguish, and permanent scarring and disfigurement. Plaintiff was taken by ambulance to a

nearby hospital for treatment of his severe second degree burns on his face and body. Plaintiff was

given a chemical peel for treatment and while recovering Plaintiff was unable to work both as a

truck driver and as a musician in his mariachi group. Today, Plaintiff has scars all around his face,

neck, and back that affect him both physically and mentally.

       20.     The Pressure Cooker’s defects cause significant risk of bodily harm and injury to

its consumers. Specifically, said defects manifest themselves when, despite Defendant’s

statements to the contrary, the lid of the pressure cooker is removable with built-up pressure, with

heat and steam inside the unit. When the lid is removed under such circumstances, rather than

pressure being released in a manner for safe removal of the lid, the pressure trapped within the unit

causes the scalding hot contents to be projected from the unit and into the surrounding area,

including onto the unsuspecting consumers, their families and other bystanders.

       21.     Defendants knew or should have known of these defects, but nevertheless put profit

ahead of safety by continuing to sell the Pressure Cooker to consumers, failing to warn consumers




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of the serious risks posed by the defects, and failing to recall the dangerously defective pressure

cookers regardless of the risk of significant injuries to Plaintiff and consumers like him.

       22.     By reason of the forgoing acts or omissions, the Plaintiff and/or his family

purchased the pressure cooker with the reasonable expectation that it was properly designed and

manufactured, free from defects of any kind, and that it was safe for its intended, foreseeable use

of cooking.

       23.     Plaintiff used his pressure cooker for its intended purpose of preparing meals for

himself and/or family and did so in a manner that was reasonable and foreseeable by the

Defendants.

       24.     However, the aforementioned pressure cooker was defectively and negligently

designed and manufactured by the Defendants in that they failed to prevent the lid from being

removed with normal force while the unit remained pressurized, despite the appearance that all the

pressure had been released, during the ordinary, foreseeable and proper use of cooking food with

the product; placing the Plaintiff, his family, and similar consumers in danger while using the

pressure cookers.

       25.     Defendants’ pressure cookers possess defects that make them unreasonably

dangerous for their intended use by consumers because the lid can be rotated and opened while the

unit remains pressurized.

       26.     Further, Defendants’ representations about “safety” are not just misleading, they

are flatly wrong, and put innocent consumers like Plaintiff directly in harm’s way.

       27.     Economic, safer alternative designs were available that could have prevented the

Pressure Cooker’s lid from being rotated and opened while pressurized.




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       28.     Defendants knew or should have known that its pressure cookers possessed defects

that pose a serious safety risk to Plaintiff and the public. Nevertheless, Defendants continue to

ignore and/or conceal its knowledge of the pressure cookers’ defects from the general public and

continues to generate a substantial profit from the sale of its pressure cookers.

       29.     As a direct and proximate result of Defendants’ intentional concealment of such

defects, its failure to warn consumers of such defects, its negligent misrepresentations, its failure

to remove a product with such defects from the stream of commerce, and its negligent design of

such products, Plaintiff used an unreasonably dangerous pressure cooker, which resulted in

significant and painful bodily injuries upon Plaintiff’s simple removal of the lid of the Pressure

Cooker.

                                      CAUSES OF ACTION

                                        COUNT 1:
                               STRICT PRODUCTS LIABILITY

       30.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       31.     At the time of Plaintiff’s injuries, Defendants’ pressure cookers were defective and

unreasonably dangerous for use by foreseeable consumers, including Plaintiff.

       32.     Defendants’ pressure cookers were in the same or substantially similar condition as

when they left the possession of the Defendants.

       33.     Plaintiff and his family did not misuse or materially alter the pressure cooker.

       34.     The pressure cookers did not perform as safely as an ordinary consumer would have

expected them to perform when used in a reasonably foreseeable way. Further, a reasonable person

would conclude that the possibility and serious of harm outweighs the burden or cost of making

the pressure cookers safe. Specifically:
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               a. The pressure cookers designed, manufactured, sold, and supplied by

                   Defendants were defectively designed and placed into the stream of commerce

                   in a defective and unreasonably dangerous condition for consumers;

               b. The seriousness of the potential burn injuries resulting from the product

                   drastically outweighs any benefit that could be derived from its normal,

                   intended use;

               c. Defendants failed to properly market, design, manufacture, distribute, supply,

                   and sell the pressure cookers, despite having extensive knowledge that the

                   aforementioned injuries could and did occur; Defendants failed to warn and

                   place adequate warnings and instructions on the pressure cookers;

               d. Defendants failed to adequately test the pressure cookers; and

               e. Defendants failed to market an economically feasible alternative design, despite

                   the existence of economical, safer alternatives, that could have prevented the

                   Plaintiff’s injuries and damages.

       35.     The Defendants’ actions and omissions were the direct and proximate cause of the

Plaintiff’s injuries and damages.

                                         COUNT 2:
                               NEGLIGENT PRODUCTS LIABILITY

       36.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       37.     Defendants had a duty of reasonable care to design, manufacture, market, and sell

non-defective pressure cookers that are reasonably safe for their intended uses by consumers, such

as Plaintiff and his family.



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       38.     Defendants failed to exercise ordinary care in the manufacture, sale, warnings,

quality assurance, quality control, distribution, advertising, promotion, sale and marketing of its

pressure cookers in that Defendants knew or should have known that said pressure cookers created

a high risk of unreasonable harm to the Plaintiff and consumers alike.

       39.     Defendants were negligent in the design, manufacture, advertising, warning,

marketing and sale of its pressure cookers in that, among other things, they:

               a. Failed to use due care in designing and manufacturing the pressure cookers to

                   avoid the aforementioned risks to individuals;

               b. Placed an unsafe product into the stream of commerce;

               c. Aggressively over-promoted and marketed its pressure cookers through

                   television, social media, and other advertising outlets; and

               d. Were otherwise careless or negligent.

       40.     Despite the fact that Defendants knew or should have known that consumers were

able to remove the lid while the pressure cookers were still pressurized, Defendants continued to

market its pressure cookers to the general public.

       41.     The Defendants’ actions and omissions were the direct and proximate cause of the

Plaintiff’s injuries and damages.

                                       COUNT 3:
                             BREACH OF EXPRESS WARRANTY

       42.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       43.     Defendants expressly warranted that its pressure cookers were safe and effective to

members of the consuming public, including Plaintiff and his family. Moreover, Defendants



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expressly warranted that the lid of the pressure cooker could not be removed while the unit

remained pressurized.

       44.     Members of the consuming public, including consumers such as the Plaintiff, were

the intended third-party beneficiaries of the warranty.

       45.     Defendants marketed, promoted and sold its pressure cookers as a safe product,

complete with “safety features.”

       46.     Defendants’ pressure cookers do not conform to these express representations

because the lid can be removed using normal force while the units remain pressurized, despite the

appearance that the pressure has been released, making the pressure cookers not safe for use by

consumers.

       47.     Defendants breached their express warranties in one or more of the following ways:

               a. The pressure cookers as designed, manufactured, sold and/or supplied by the

                   Defendants, were defectively designed and placed into the stream of commerce

                   by Defendants in a defective and unreasonably dangerous condition;

               b. Defendants failed to warn and/or place adequate warnings and instructions on

                   their pressure cookers;

               c. Defendants failed to adequately test its pressure cookers; and

               d. Defendants failed to provide timely and adequate post-marketing warnings and

                   instructions after they knew the risk of injury from their pressure cookers.

       48.     Plaintiff used the pressure cooker with the reasonable expectation that it was

properly designed and manufactured, free from defects of any kind, and that it was safe for its

intended, foreseeable use of cooking.




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       49.     The Defendants’ actions and omissions were the direct and proximate cause of the

Plaintiff’s injuries and damages.

                                COUNT 4:
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

       50.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       51.     At the time Defendants marketed, distributed and sold their pressure cookers to the

public including Plaintiff and his family, Defendants warranted that its pressure cookers were

merchantable and fit for the ordinary purposes for which they were intended.

       52.     Members of the consuming public, including consumers such as Plaintiff, were

intended third-party beneficiaries of the warranty.

       53.     Plaintiff reasonably relied on Defendants’ representations that its pressure cookers

were a quick, effective and safe means of cooking.

       54.     Defendants’ pressure cookers were not merchantable because they had the

propensity to lead to the serious personal injuries as described herein in this Complaint.

       55.     Plaintiff used the pressure cooker with the reasonable expectation that it was

properly designed and manufactured, free from defects of any kind, and that it was safe for its

intended, foreseeable use of cooking.

       56.     The Defendants’ actions and omissions were the direct and proximate cause of the

Plaintiff’s injuries and damages.


                           COUNT 5:
 BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE

       57.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.
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       58.       Defendants manufactured, supplied, and sold their pressure cookers with an implied

warranty that they were fit for the particular purpose of cooking quickly, efficiently, and safely.

       59.       Members of the consuming public, including consumers such as Plaintiff, were the

intended third-party beneficiaries of the warranty.

       60.       Defendants’ pressure cookers were not fit for the particular purpose as a safe means

of cooking, due to the unreasonable risks of bodily injury associated with their use.

       61.       Plaintiff reasonably relied on Defendants’ representations that its pressure cookers

were a quick, effective, and safe means of cooking.

       62.       The Defendants’ actions and omissions were the direct and proximate cause of the

Plaintiff’s injuries and damages.

                               COUNT 6:
         VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

       63.       Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

64.     A consumer may maintain an action where any of the following constitute a producing

cause of economic damages or damages for mental anguish: (1) the use or employment by any

person of a false, misleading, or deceptive act or practice that is specifically enumerated in Texas

Business & Commerce Code §17.46(b) and relied on by a consumer to the consumer's detriment;

(2) breach of an express or implied warranty; or (3) any unconscionable action or course of action

by any person.

       65.       Plaintiff is a consumer under Texas Business & Commerce Code §17.45(4).

       66.       Defendants can be sued under the DTPA. Each Defendant is a person under Texas

Business & Commerce Code §17.45(3) that committed a deceptive act or practice that was in

connection with the Plaintiff’s transaction in purchasing the pressure cooker.
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       67.     Defendants committed one or more of the following wrongful acts:

               a. A false, misleading, or deceptive act or practice listed below that was relied on

                   by the Plaintiff to their detriment:

                   i. causing confusion or misunderstanding as to the source, sponsorship,
                      approval, or certification of the Pressure Cooker;

                  ii. representing that the Pressure Cooker has sponsorship, approval,
                      characteristics, uses, benefits, or quantities which it does not have;

                  iii. representing that the Pressure Cooker was of a particular standard, quality,
                       or grade when it is of another;

                  iv. advertising the Pressure Cooker with intent not to sell them as advertised;
                      and

                   v. failing to disclose information concerning the Pressure Cooker which was
                      known at the time of the transaction and such failure to disclose such
                      information was intended to induce the Plaintiff and consumer into a
                      transaction into which the Plaintiff and consumer would not have entered
                      had the information been disclosed.

               b. A breach of an express or implied warranty; and

               c. Any unconscionable action or course of action.

       68.     The Defendants’ actions and omissions were the direct and proximate cause of the

Plaintiff’s injuries and damages.

                                            DAMAGES

       69.     As a direct and proximate result of the acts and omissions outlined above, Plaintiff

has been severely injured. Defendants’ conduct caused physical pain, economic losses, loss of

consortium, as well as emotional distress, mental anguish, and trauma. Plaintiff seeks

compensatory damages in an amount deemed sufficient by the tier of fact to compensate them for

the following damages:

               a. Medical, hospital, and pharmaceutical charges and expenses in the past;

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              b. Medical, hospital, and pharmaceutical charges and expenses that, in reasonable

                  medical probability, will be incurred in the future;

              c. Past, present, and future mental anguish;

              d. Pain and suffering in the past;

              e. Pain and suffering that, in reasonable probability, will be suffered in the future;

              f. Loss of consortium;

              g. Disability and impairment in the past;

              h. Disability and impairment that, in reasonable probability, will occur in the

                  future;

              i. Past, present, and future disfigurement;

              j. Past and future loss earnings or loss of wage-earning capacity;

              k. Costs of suit;

              l. Exemplary damages; and

              m. Any and all other damages to which Plaintiff may show himself entitled.

       70.    Plaintiff also seeks damages in accordance with Texas Business & Commerce Code

§17.50(b) and §17.50(d)

       71.    Plaintiff has suffered damages from the Defendants’ wrongful conduct described

herein. Accordingly, Plaintiff is seeking damages over $1,000,000.00.

                                        JURY DEMAND

       72.    Plaintiff respectfully requests a trial by jury.




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                                           PRAYER

       73.    For these reasons, Plaintiff asks the Court to issue citations for the Defendants to

appear and answer, and that Plaintiff be awarded a judgment against the Defendants for the

following:

              a. Compensatory and actual damages in an amount deemed sufficient by the trier

                  of fact;

              b. Costs of Court;

              c. Incidental damages;

              d. Exemplary damages;

              e. Prejudgment and post-judgment interest at the maximum legal rate per annum

                  until paid; and

              f. Such other and further relief, both general and special, at law or in equity, to

                  which Plaintiff may show himself justly entitled.

                                                       Respectfully submitted,

                                                       Paranjpe Mahadass Ruemke LLP

                                                        /s/Tej Paranjpe
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